 

 

East Baton Rouge Parish Clerk of Court A07-16-0324 AFFIDAVIT FILED Page 1 CR |
No. , Sec. —
X] State of Louisiana DX]: 19" Judicial District Court Ss |
[_] City of Baton Rouge [-] : Baton Rouge City Court
: Parish of East Baton Rouge
VERSUS : State of Louisiana
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Affidavit of Probable Cause

 
 
  

depidsed hase {following recited facts are true and correct to the best of his knowledge,
informatfdyegnd belief, and that based upon these facts, he caused the arrest of the following

li edd fentant(s) for the listed offense(s).
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SS | File No.
Pollgcd Réoe ua E Ole 1940
ay Name Race Sex Date of Birth

1473 A/. Ygllere Aew orleons, Lo
Address Pddi C fs Spay € Social Security Number
Simple Obstruction of a ; Resistin An Officer LRS 14:997 14:108
Charge(s) Statute/City Code Number

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Synopsis of Probable Cause:

The Affiant stated to the Court that on this 10th day of July, 2016, the Defendant did knowingly and
feloniously violate LRS 14:97 Simple Obstruction of a Highway of Commerce in that they intentionally
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an Officer in that the Defendantly actively attempted to prevent their lawful arrest after being placed under
arrest. This occurred within the city of Baton Rouge, Parish of East Baton Rouge.

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prevent being taken into custody and completion of the arrest process.

The Defendant was placed under arrest and verbally advised of their rights as per the Miranda ruling. The
Defendant was then transported to the East Baton Rouge Parish Prison and booked ane :

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East Baton Rouge Parish Clerk of Court A07-16-0331 AFFIDAVIT FILED

 

‘ ‘ 4 No. , Sec.
XX] State of Louisiana x]: 19 Judicial District Court
[|] City of Baton Rouge [_] : Baton Rouge City Court
: Parish of East Baton Rouge
VERSUS : State of Louisiana
Samantha pichels
(Name of Defendant)

Affidavit of Probable Cause

 
   
  

| personally appeared the undersigned law enforcement officer(s) who
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itn bo WU ve hols US E B-S DP }
Defendant’s Name Race Sex Date of Birth
Address Social Security Number
Simple Obstruction of a Highway of Commerce, Resistin An Officer LRS 14:97, 14: 108
Charge(s) Statute/City Code Number

 

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Affiant

Sworn to and subsefibed before me this7/ O __ day of Fut vy, 2016.

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: Parish of East Baton Rouge
VERSUS : State of Louisiana

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Affidavit of Probable Cause

 
 
 

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iE BRPD File No. 690027

Tawry Graney, _U) fe l2-05-74

 

 

 

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ie lass re Social Security Number
Simple Obstruction of a Hishwar-of Commumnce, Resistin An Officer LRS 14:97, 14:108
Charge(s) Statute/City Code Number
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Affiant
Sworn to and subscribed before me this l O day a s Tc (y dG.
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Z ( / Notary Public

 

 

 

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No. , Sec.

 

><] State of Louisiana X] : 19" Judicial District Court
[_] City of Baton Rouge [-] : Baton Rouge City Court

: Parish of East Baton Rouge
VERSUS. : State of Louisiana
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(Name of Defendant) cx US

 

Affidavit of Probable Cause

     
   

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infoi i sige re and that based upon these facts, he caused the arrest of the following
listed.de t(s) for the listed offense(s). ek
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2 = BRPD File No. EBR36900
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Defendant’s Name Race Sex
148 Diack Berm LN Warentan ac ed
Address ocial Security Number

Simple Obstruction of a Highway of Commerce, Resistin An Officer LRS 14:97, 14:108
Charge(s) Statute/City Code Number

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Affiant
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Page 1 of a

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‘ No. , Sec.
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: Parish of East Baton Rouge
VERSUS : State of Louisiana

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Affidavit of Probable Cause BEheeneve

   
 
 
  

€ personally appeared the undersigned law enforcement officer(s) who
following recited facts are true and correct to the best of his knowledge,
belief, and that based upon these facts, he caused the arrest of the following

i) for the listed offense(s).
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~ BRPD File No.
Baie Brown R\K CE 0-31-43
Defendant’s Name Race Sex Date of Birth
[YL Norland Ave Wohkiston, OC
Address ‘ Social Security Number
Simple Obstruction of a Highway of Commerce, Resistin An Officer LRS 14:97, 14: 108
Charge(s) Statute/City Code Number

 

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Affiant
Sworn to and subscribed’ Before me this \Qie dayof 5 uvu\r , 20 \ ( .

 

 

 

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East Baton Rouge Parish Clerk of Court A07-16-0321 AFFIDAVIT FILED Page tori”
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No. , Sec. —
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: Parish of East Baton Rouge Se
VERSUS : State of Louisiana
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(Name of Defendant)
g <= : Affidavit of Probable Cause
ouB = personally appeared the undersigned law enforcement officer(s) who
deposed éh following recited facts are true and correct to the best of his knowledge,

informatio; d belief, and that based upon these facts, he caused the arrest of the following
listed:de t(s) for the listed offense(s).

 

 

 

 

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Ome _ BRPD File No. EBR3690057
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Tivo Song hte Female = _deyet/6 5
Defendant’s Name Race Sex j
Joc re 115 %t Ke Vork, Mov Yok, 100357 eee emer
Address fab farsape Social Ses ity Number
Simple Obstruction of a HighwayefCommerce, Resistin An Officer LRS 14:54, 14:108
Charge(s) Statute/City Code Number

 

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Affiant
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ee Affidavit of Probable Cause
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a2 Be personally appeared the undersigned law enforcement officer(s) who
deposed following recited facts are true and correct to the best of his knowledge,

belief, and that based upon these facts, he caused the arrest of the following
for the listed offense(s).

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| BRPD File No.

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Defendant’s Name Race Sex Date of Birth
Birlen Kage, lf JOSIB

Address Social Security Number

Simple Obstruction of a Highway of Commerce, Resistin An Officer LRS 14:97, 14:108

Charge(s) Statute/City Code Number

 

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East Baton Rouge Parish Clerk of Court A07-16-0347 AFFIDAVIT FILED Page 1 of 2

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Affidavit of Probable Cause EBRSES00S

ne personally appeared the undersigned law enforcement officer(s) who

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Address Social Security Number
Simple Obstruction of a Highway of Commerce, Resistin An Officer LRS 14:97, 14:108
Charge(s) Statute/City Code Number

 

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Affidavit of Probable Cause

   

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Simple Obstruction of a Highway of Commerce, Resistin An Officer LRS 14:97, 14:108
Charge(s) Statute/City Code Number

 

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Affiant
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East Baton Rouge Parish Clerk of Court AO7-16-0345 AFFIDAVIT FILED Page 1 of 1

 

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VERSUS : State of Louisiana |
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Affidavit of Probable Cause

   
  

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2 a BRPD File No.
eat Fishkin eS UB 8S
Defendant’s Name . Race Sex Date of Birth

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Address ‘ Social Security Number
Simple Obstruction of a Highway of Commerce, Resistin An Officer LRS 14:97, 14:108
Charge(s) Statute/City Code Number

 

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State of Louisiana (X] : 19" Judicial District Court
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: Parish of East Baton Rouge
VERSUS : State of Louisiana
Danie LL ebeskind Affidavit of Probable Cause

 

. Before me personally appeared the undersigned law enforcement officer(s) who deposed that the
following recited facts are true and correct to the best of his knowledge, information and belief, and that based
upon these facts he caused the arrest of the following listed defendant(s) for the listed offense(s):

BRPD File Number(s) NAD “J lL
Defendant's Name

Race b.) Sex” Al Date of Birth (OO -t[-$&
g O4 A ! Hiner Ne

 

 

Address Social Security Number
Obstruction of a public passage/Resisting an officer 14:100.1/14:108
Charge(s) Statute Number / City Code Number

 

Synopsis of Probable Cause:

The Affiant stated to the Court that on this(\“/— = , 2016, the Defendant did knowingly and feloniously violate LRS
14:100.1 Obstruction of a public passage in that they intentionally placed themselves in the roadway thus rendering movement there
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(_] City of Baton Rouge []: Baton Rouge City Court
: Parish of East Baton Rouge
VERSUS : State of Louisiana

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AMEE | Re MuHAMnAD Affidavit of Probable Cause
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upon these facts he caused the arrest of the following listed defendant(s) for the listed offense(s):

BRPD FileNumber(s) JOS32VO ~(&
AMEEM OMRR WuHANMAC

Defendant’s Name

 

 

Race 2 Sex MA Date of Birth 4/2 AZ
1ZHZ2 Mahylind ne VE RMT WAstibeRN No
Address ov Social Security Number
Obstruction of a public passage/Resisting an officer 14:100.1/14:108
Charge(s) Statute Number / City Code Number

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Synopsis of Probable Cause:

The Affiant stated to the Court that on this /OJUL} 22} , 2016, the Defendant did knowingly and feloniously violate LRS
14:100.1 Obstruction of a public passage in that they intentionally placed themselves in the roadway thus rendering movement there
on more difficult and LRS 14:108 Resisting an Officer in that the Defendantly actively attempted to prevent their lawful arrest after
being placed under arrest. This occurred within the city of Baton Rouge, Parish of East Baton Rouge.

To Wit: On the above listed date numerous B Rouge Police Department Officers were assigned to provide security for peaceful
protests at and in the vicinity of GY ERST GivD_. Protesters assembled at provided parking areas
and in surrounding parking lots. Protesters were advised by loud speaker to remain on private property and the on the curb. They
were further advised to stay out of the roadway and to not impede the flow of traffic. These announcements were made frequently via
loud speakers and by individual Police Officers on the scene.

During the protest, the Defendant entered the roadway and was provided another verbal order to exit the lanes of travel. Moments
later the Defendant entered the roadway again and was taken into custody by Officers on the scene. After being advised that they
were under arrest, the Defendant did actively attempt to prevent being taken into custody and completion of the arrest process.

The Defendant was placed under arrest and verbally advised of their rights as per the Miranda ruling. The Defendant was then

 

   

 

 

 
  

transported to the East Baton Rouge Parish Prison and booked accordingly.
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Sworn to and sub

 

< oO 7 / / Notary Public

 
 

East Baton Rouge Parish Clerk of Court A07-16-0353 AFFIDAVIT FILED Page Lone
= 7 : No. , Sec, —
State of Louisiana X] : 19" Judicial District Court —
(_] City of Baton Rouge [_] : Baton Rouge City Court -

: Parish of East Baton Rouge Sy
VERSUS , ‘ : State of Louisiana NN

(era NO wl, Ay Ton, / Dd Affidavit of Probable Cause

Before me personally appeared the undersigned law enforcement officer(s) who deposed that the
following recited facts are true and correct to the best of his knowledge, information and belief, and that based
upon these facts he caused the arrest of the following listed defendant(s) for the listed offense(s):

S Casraniony Avronno BRPD File Number(s) /b -7 0220

Defendant’s Name

 

 

 

Race Sex 4 e of Birth
KX 1 84 —Aa—y
500 GCE Ison TRARL , WEWpn4s, GA
Address f 7 Social Security Number
Obstruction of a public passage/Resisting an officer 14:100.1/14:108
Charge(s) Statute Number / City Code Number

 

 

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were under arrest, the Defendant did actively attempt to prevent being taken into custody and completion of the arrest process.
The Defendant was placed under arrest and verbally advised of their rights as per the Miranda ruling. The Defendant was then
transported to the East Baton Rouge Parish Prison and booked accordingly.

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